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                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          September 07, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    GWG Holdings, Inc., et al.,1                                  )      Case No. 22-90032 (MI)
                                                                  )
    Debtors.                                                      )      (Jointly Administered)
                                                                  )      Re: Docket No. 639

                    ORDER MODIFYING THE AUTOMATIC STAY AND
               AUTHORIZING USE OF ESTATE PROPERTY, TO THE EXTENT
              APPLICABLE, TO ALLOW PAYMENT, REIMBURSEMENT AND/OR
             ADVANCEMENT OF DEFENSE COSTS UNDER INSURANCE POLICIES

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) modifying the automatic stay

and authorizing the use of property of the estates outside the ordinary course of business, in each

case, to the extent applicable, to allow the Insurance Carriers to pay, reimburse, and/or advance

defense costs under the Policies, and (b) granting related relief, all as more fully set forth in the

Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this

Court may enter a final order consistent with Article III of the United States Constitution; and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no other



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
      location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
      St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
      cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or in
      any of the Policies, as the context requires.

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notice need be provided as set forth herein; and this Court having reviewed the Motion and having

heard the statements in support of the relief requested therein at a hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      Pursuant to Section 362(d)(1) of the Bankruptcy Code, limited relief from the

automatic stay, to the extent applicable, is granted for cause, and relief is granted pursuant to

Section 363(b) of the Bankruptcy Code, to the extent applicable, solely to permit the Insurance

Carriers, pursuant to the terms of the Policies, to pay, reimburse and/or advance covered Defense

Expenses incurred by or to be incurred by the Debtors, Beneficient, and the other non-Debtor

individuals or entities insured under the Policies for the Insurance Claims (collectively, the

“Insureds”), in each case, including any Defense Expenses previously incurred (including prior to

the Petition Date, presently being incurred, or that will in the future be incurred; provided,

however, that the Defense Expenses that comprise prepetition fees and expenses of Willkie Farr

and KLDiscovery shall be governed entirely by Paragraph 3 hereof; provided, further, however,

that, notwithstanding anything to the contrary in this paragraph, absent further order of the Court,

Beneficient, MHT Financial LLC, or Murray Holland, or their respective counsel (including the

counsel set forth in the table below and any counsel supplemented thereto or substituted therefor),

shall not receive proceeds from the Policies on account of the PCA Suit or any expenses and fees

incurred in connection therewith in excess of the sum of the Accrued Defense Expenses (which,

for the avoidance of doubt, includes Defense Expenses incurred prior to the Petition Date) and

Additional Defense Expenses set forth in the table below with respect to such Insureds and their
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counsel. Other than those amounts set forth below, nothing contained in this Order authorizes

payments of any other amounts on account of the PCA Suit from the proceeds of the Policies to or

on behalf of any other Insureds or their counsel. In the event that any amended complaint or other

document is filed in the PCA Suit that purports to name additional defendants therein, Beneficient

shall provide the Bondholders Committee a copy of such amended complaint or other document

within two business days after its receipt thereof.

                                                               Accrued                Additional
                Insured                Counsel                 Defense                 Defense
                                                               Expenses               Expenses
                                    Holland &
              Beneficient                                    $447,649.00
                                    Knight LLP
                                                                                    $2,250,000.003
                                  Potter Anderson
              Beneficient                                   $1,079,851.38
                                  & Corroon LLP
             MHT Financial        Young Conaway
             LLC & Murray           Stargatt &                 $800,000               $1,250,000
               Holland             Taylor, LLP

        2.       Nothing in this Order shall be deemed to be a modification of the automatic stay to

permit the Insurance Carriers to pay, reimburse, and/or advance amounts covered under Side B or

Side C of the Policies on account of any settlements or compromises of any investigation or

litigation, whether relating to the Insurance Claims or otherwise. Each of the Debtors, Beneficient,

MHT Financial, and Murray Holland has agreed that such party will seek and obtain an order of

this Court, which may be submitted for approval in the form of a consent order under certification

of counsel agreed to by the Debtors and the Bondholders Committee, prior to any such payment,

reimbursement, and/or advancement of amounts covered under the Policies on account of any

settlements or compromises of any investigation or litigation to which it is a party.




3
    The cap for the Additional Defense Expenses for counsel for Beneficent is a single combined cap that can be used
    by either of the law firms representing Beneficient so long as the aggregate total for the law firms representing
    Beneficient does not exceed such cap without further order of the Court.
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        3.       Defense Expenses that comprise Willkie Farr’s prepetition fees and expenses in

connection with the SEC Investigation shall be treated as follows:

                 A.       The prepetition fees and expenses of Willkie Farr and KLDiscovery

        incurred in connection with the SEC Investigation that may be paid or reimbursed under

        the Policies shall be no more than $4,447,805.30, consisting of $4,238,970.36 invoiced by

        Willkie Farr (the “Willkie Prepetition Amount”) directly and $208,834.94 invoiced

        separately by KLDiscovery (the “KLDiscovery Prepetition Amount” and together with the

        Willkie Prepetition Amount, the “SEC Investigation Prepetition Amount”). 4 The Insurance

        Carrier(s) promptly shall pay $4,072,629.10 to the Debtors, which is the amount equal to

        all of the prepetition fees and expenses of Willkie Farr and KLDiscovery incurred in

        connection with the SEC Investigation determined to be reasonable and necessary Defense

        Expenses and which is allocated $3,863,794.16 to Willkie Farr (the “Initial Willkie

        Prepetition Amount”) and $208,834.94 to KLDiscovery (the “Initial KLDiscovery

        Prepetition Amount”), and payment of the Initial Willkie Prepetition Amount and the Initial

        KLDiscovery Prepetition Amount shall be in full discharge of any obligation under the

        Policies with respect thereto. To the extent provided by the Policies, the Policies will be

        considered eroded in an amount equivalent to any such payments made pursuant to this

        subparagraph.




4
    Nothing contained herein prevents (i) Willkie Farr from pursuing the allowance of a general prepetition unsecured
    claim for the unpaid balance of the Willkie Prepetition Amount following application all amounts paid pursuant
    to this Order, (ii) KLDiscovery from pursuing the allowance of a general prepetition unsecured claim for the
    unpaid balance of the KLDiscovery Prepetition Amount following application all amounts paid pursuant to this
    Order, or (iii) any party in interest from objecting to allowance of either of the foregoing.
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       B.      The Debtors shall hold the amounts received from the Insurance Carriers in

trust pursuant to the preceding subparagraph for distribution solely as provided in the

following subparagraphs hereof.

       C.      Within 30 days of the date of the entry of this Order, the Debtors, Willkie

Farr, and the Bondholders Committee shall seek to negotiate (i) the portion of the Willkie

Prepetition Amount reasonably attributable to Willkie Farr’s prepetition representation of

individual current and former officers and directors of the Debtors in connection with the

SEC Investigation that are payable pursuant to Side A of the Policies (the “Willkie Side A

Amount”) and (ii) the portion of the KLDiscovery Prepetition Amount reasonably

attributable to KLDiscovery’s prepetition services on behalf of individual current and

former officers and directors of the Debtors in connection with the SEC Investigation that

are payable pursuant to Side A of the Policies (the “KLDiscovery Side A Amount” and

together with the Willkie Side A Amount, the “SEC Investigation Side A Amount”). If the

Debtors, Willkie Farr, and the Bondholders Committee agree upon the SEC Investigation

Side A Amount, the Debtors shall promptly remit to Willkie Farr the portion of the SEC

Investigation Side A Amount allocable to Willkie Farr and shall promptly remit to

KLDiscovery the portion of the SEC Investigation Side A Amount allocable to

KLDiscovery, in full and final satisfaction of the SEC Investigation Side A Amount. If the

Debtors, Willkie Farr, and the Bondholders Committee are not able to agree upon such a

stipulation (i) on September 29, 2022 at 1:30 p.m. prevailing Central time the Court will

hold a hearing to determine the Willkie Side A Amount and/or the KLDiscovery Side A

Amount (as applicable) and (ii) by no later than September 22, 2022, the Debtors, the
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Bondholders Committee, and Willkie Farr shall agree upon submission dates for filing

position papers with the Court.

       D.      Following judicial determination of the SEC Investigation Side A Amount

pursuant to the last sentence of the immediately preceding subparagraph, the Debtors shall

pay the Willkie Side A Amount to Willkie Farr and the KLDiscovery Side A Amount to

KLDiscovery from the SEC Investigation Prepetition Amount. The remaining balance of

(i) the Willkie Prepetition Amount (the “Remaining Prepetition Willkie Amount”) shall

then be paid by the Debtors to Willkie Farr to be held by Willkie Farr as a retainer for

security against the nonpayment of postpetition fees and expenses incurred by Willkie Farr

in its capacity as special counsel to the Debtors (the “Willkie Retainer”) and (ii) the

KLDiscovery Prepetition Amount (the “Remaining Prepetition KLDiscovery Amount”)

shall be held by the Debtors in trust, pending further order of the Court as set forth below.

Notwithstanding such payment to Willkie Farr of the Willkie Retainer, the Insurance

Carriers are authorized to pay the fees and expenses incurred from and after the Petition

Date, by Willkie Farr (and KLDiscovery, if applicable) as Defense Expenses in accordance

with the provisions of the Policies (x) in the case of Willkie Farr, the Order (I) Pursuant

to Section 327(e) of the Bankruptcy Code Authorizing and Approving Employment and

Retention of Willkie Farr & Gallagher LLP as Special Counsel to the Debtors and (II)

Granting Related Relief [Docket No. 450] and (y) in the case of KLDiscovery, the Order

(I) Authorizing the Retention and Compensation of Certain Professionals Utilized in the

Ordinary Course of Business and (II) Granting Related Relief [Docket No. 412]. The

payment of the Willkie Retainer Amount shall in no manner whatsoever alter the

administrative expense nature of such postpetition fees and expenses.
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               E.      Absent agreement between the Debtors, Willkie Farr, and the Bondholders

       Committee regarding use of (i) the Willkie Retainer to satisfy the Remaining Willkie

       Prepetition Amount that was incurred on behalf of the Debtors and/or (ii) the Remaining

       KLDiscovery Prepetition Amount held by the Debtors, the Court shall hold a hearing on

       December 1, 2022 at 1:30 p.m. prevailing Central time to determine whether, and to what

       extent, (x) the Willkie Retainer may be used to satisfy any portion of the Remaining Willkie

       Prepetition Amount and (y) the Remaining KLDiscovery Prepetition Amount may be paid

       to KLDiscovery. By no later than November 17, 2022, the Debtors, the Bondholders

       Committee, and Willkie Farr shall agree upon a briefing and discovery schedule with

       respect to any such hearing.

               F.      If any portion of the Willkie Retainer is not (i) authorized to be used and

       applied by Willkie Farr in accordance with the immediately preceding subparagraph or (ii)

       used to satisfy any postpetition fees and expenses incurred by Willkie Farr in its capacity

       as special counsel to the Debtors, such amount will be returned to the applicable Insurance

       Carrier. If any portion of the Remaining KLPrepetition Amount is not (i) authorized to be

       paid by the Debtors to KLDiscovery in accordance with the immediately preceding

       subparagraph or (ii) used by the Debtors to satisfy any postpetition fees and expenses

       incurred by KLDiscovery in its capacity as a vendor for the Debtors, such amount will be

       returned to the applicable Insurance Carrier.

       4.      The Debtors shall provide counsel to the Bondholders Committee with notice of

the Debtors’ actual receipt, if any, of any notice (written or otherwise) from any Insurance Carrier,

the Debtors’ insurance broker or any Insured of any request of payment of an indemnity claim of

any Insured under any Side of the Policies (e.g., settlement, compromise, or judgment) submitted
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to any Insurance Carrier. Within five business days of entry of this Order, the Debtors shall

provide notice of entry of this Order to the Insurance Carriers and the Debtors’ insurance broker

and request that such information be provided no less frequently than every thirty days.

       5.      Nothing in this Order affects the ability of any Insured that is a current or former

director or officer of the Debtors (in their capacity as such) to request payment, reimbursement,

and/or advancement from any Insurance Carrier of any Loss payable from proceeds of any Side A

coverage under the Policies, or the ability of any Insurance Carrier to satisfy any such request, and

any such payments, reimbursements, or advances are authorized hereunder.

       6.      As soon as practicable after September 30, 2022 and the last day of every calendar

quarter thereafter during the pendency of the Chapter 11 Cases (each such date, an “Information

Request Date”), counsel to the Debtors shall request reporting from each Insurance Carrier

responsible for covering Defense Expenses during the preceding calendar quarter showing: (a) all

amounts disbursed by the applicable Insurance Carriers under the Policies since the last

Information Request Date (or, with respect to the first Information Request Date, since entry of

the Order); and (b) the aggregate amount of Defense Expenses and other Loss for which invoices

(or other evidence of payment obligations) have been tendered to the applicable Insurance Carriers

for payment, reimbursement, or advancement under such Policies but for which the Insurance

Carriers have not yet made a disbursement as of the last day immediately prior to the applicable

Information Request Date; in each case, in the format the applicable Insurance Carriers have used

or typically use in complying with any information obligations under the Policies and subject to

customary confidentiality and privilege limitations. The Debtors shall provide to the Bondholders

Committee all such information actually received by the Debtors no later than 30 days following

the related Information Request Date together with an estimate, based solely upon the information
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actually received by the Debtors from the applicable Insurance Carriers, of the aggregate amount

of coverage remaining under the Policies as of the most recent Information Request Date.

        7.      Notwithstanding anything herein to the contrary, the Debtors, their estates, and the

Bondholders Committee reserve any and all rights and/or remedies under the Policies and

applicable law with respect to any payments authorized and made pursuant to the proviso set forth

in Paragraph 1 of this Order including, without limitation, any and all rights and remedies under

the Policies or applicable law to seek recovery of any such payments that may be made by any

Insurance Carrier; provided this Order preserves, but does not create, any such rights or remedies

under the Policies or applicable law, whether on behalf of the Debtors, their estates, the

Bondholders Committee, any Insurance Carrier, or otherwise.

        8.      Nothing in this Order shall be deemed a determination (i) as to whether any

proceeds of any Policies are or are not property of the Debtors’ estates or (ii) that the automatic

stay applies, and all rights of the Debtors, their estates, the non-Debtor insureds, the Notice Parties,

and all other parties in interest are reserved with respect thereto.

        9.      Nothing in this Order shall modify or alter the rights and obligations provided for

under the terms and provisions of the various Policies issued by the Insurance Carriers.

        10.     The Debtors are authorized to take all action necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        11.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


   Signed: September
           October 17,07, 2022
                       2018

 Dated:              , 2022                              ____________________________________
 Houston, Texas                                      MARVIN ISGUR Marvin Isgur
                                                             United States
                                                     UNITED STATES         Bankruptcy Judge
                                                                     BANKRUPTCY       JUDGE
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/s/ Kristhy M. Peguero
JACKSON WALKER LLP                             MAYER BROWN
Matthew D. Cavenaugh (TX Bar No. 24062656)     Charles S. Kelley (TX Bar No. 11199580)
Kristhy M. Peguero (TX Bar No. 24102776)       700 Louisiana Street, Suite 2400
1401 McKinney Street, Suite 1900               Houston, TX 77002-2730
Houston, Texas 77010                           Telephone: (713) 238-3000
Telephone: (713) 752-4200                      Email: ckelley@mayerbrown.com
Email: kpeguero@jw.com
Email: mcavenaugh@jw.com                        -- and --

                                                Thomas S. Kiriakos (admitted pro hac vice)
                                                Louis S. Chiappetta (admitted pro hac vice)
Co-Counsel to the Debtors and                   71 S. Wacker Drive
Debtors in Possession                           Chicago, IL 60606
                                                Telephone: (312) 701-0600
                                                Email: tkiriakos@mayerbrown.com
                                                Email: lchiappetta@mayerbrown.com

                                                -- and --

                                                Adam C. Paul (admitted pro hac vice)
                                                Lucy F. Kweskin (admitted pro hac vice)
                                                1221 Avenue of the Americas
                                                New York, NY 10020-1001
                                                Telephone: (212) 506-2500
                                                Email: apaul@mayerbrown.com
                                                Email: lkweskin@mayerbrown.com

                                                Counsel for the Debtors and
                                                Debtors in Possession

/s/ Jennifer Hardy                             /s/ Allison S. Mielke
WILLKIE FARR & GALLAGHER LLP                   YOUNG CONAWAY STARGATT & TAYLOR LLP
Jennifer Hardy (TX Bar No. 24096068)           Allison S. Mielke (admitted pro hac vice)
600 Travis Street                              1000 N. King Street
Houston, TX 77002                              Wilmington, DE 19801
Telephone: (713) 510-1766                      Telephone: (302) 571-6600
Facsimile: (713) 510-1799                      Email: amielke@ycst.com
Email: jhardy2@willkie.com
                                                Counsel for MHT Financial LLC and Murray Holland

Special Litigation Counsel to the Debtors




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/s/ Steve J. Levitt
HOLLAND AND KNIGHT
David M. Bennett (TX Bar No. 02139600)
Steven J. Levitt (TX Bar No. 24092690)
1722 Routh St., Suite 1500
Dallas, TX 75201
Telephone: (214) 969-1486
Facsimile: (214) 969-1751
Email: David.Bennett@hklaw.com
Email: Steve.Levitt@hklaw.com

Anthony F. Pirraglia (TX State Bar No. 24103017)
811 Main Street, Suite 2500
Houston, TX 77002
Telephone: (713) 217-2886
Email: Anthony.Pirraglia@hklaw.com

Counsel to the Beneficent Company Group, L.P.

/s/ Eric M. English
PORTER HEDGES LLP                                     AKIN GUMP STRAUSS HAUER & FELD LLP
Eric M. English (TX Bar No. 24062714)                 Lacy Lawrence (TX Bar No. 24055913)
M. Shane Johnson (TX Bar No. 24083263)                2300 N. Field Street, Suite 1800
1000 Main Street, 36th Floor                          Dallas, TX 75201
Houston, TX 77002-274                                 Telephone: (214) 969-2800
Telephone: (713) 226-6000                             Facsimile: (214) 969-4343
Facsimile: (713) 226-6248                             Email: llawrence@akingump.com
Email: eenglish@porterhedges.com
Email: sjohnson@porterhedges.com                      Michael Stamer (admitted pro hac vice)
                                                      Abid Qureshi (admitted pro hac vice)
                                                      Jason P. Rubin (admitted pro hac vice)
Counsel to the Official Committee of Bondholders of   One Bryant Park
GWG Holdings, Inc., et al.                            New York, NY 10036
                                                      Telephone: (212) 872-1000
                                                      Facsimile: (212) 872-1002
                                                      Email: mstamer@akingump.com
                                                      Email: aqureshi@akingump.com
                                                      Email: jrubin@akingump.com

                                                      Scott Alberino (admitted pro hac vice)
                                                      Benjamin L. Taylor (admitted pro hac vice)
                                                      Robert S. Strauss Tower
                                                      2001 K Street, N.W.
                                                      Washington, D.C. 20006-1037
                                                      Telephone: (202) 887-4000
                                                      Facsimile: (202) 887-4288
                                                      Email: salberino@akingump.com
                                                      Email: taylorb@akingump.com

                                                      Counsel to the Official Committee of Bondholders of
                                                      GWG Holdings, Inc., et al.
